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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA


ASHLEE TOLLETT,                            )
                                           )
              Plaintiff,                   )
                                           )
                                           )
                      v.                   )      Case No. CIV-19-1170-D
                                           )
                                           )
GARY YOUNG,                                )      JURY TRIAL DEMANDED
                                           )      ATTORNEY LIEN CLAIMED
              Defendant.                   )
                                           )

             STIPULATION OF DISMISSAL WITHOUT PREJUDICE

Plaintiff and Defendant file this stipulation of dismissal pursuant to FRCP 41(a)(1)(A)(ii).

              1.      Plaintiff filed this action in the Western District of Oklahoma on

       December 18, 2019.

              2.      Plaintiff agrees to dismiss this case without prejudice.

              3.      Defendant, who has filed a Motion to Dismiss, agrees to the dismissal

       of the case.

              4.      This is not a class action under FRCP 23, a derivative action under

       Rule 23.1 or an action related to an unincorporated association under Rule 23.2.

              5.      A receiver has not been appointed.

              6.      This case is not governed by any federal statute that requires a court

       order for dismissal of the case.

              7.      Plaintiff has not previously dismissed any federal or state court suit
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based on or including the same claim as those presented in this case.

      8.     This dismissal is without prejudice to the refiling of the same.


                           /s/ Rachel Bussett
                           Rachel L. Bussett, OBA #19769
                           Kindra N. Avila, OBA No. 22547
                           Bussett Legal Group
                           2201 N. Classen Blvd.
                           Oklahoma City, Oklahoma 73106
                           (405) 605-8073
                           RACHEL@bussettlegal.com
                            Attorneys for Plaintiff


                           /s/Tim D. Cain
                           Tim D. Cain
                           Wilson, Cain & Acquaviva
                           300 NW 13th St., Ste. 100
                           Oklahoma City, OK 73103
                           (405)236-2600
                           timcain@swbell.net
                           Attorneys for Defendant
